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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
    ICICI BANK UK PLC ANTWERP BRANCH,                                   Civil Action No. 20–4808
                                       Plaintiff,
                         -against-                                      NOTICE OF REMOVAL

    SALIL MANILAL,                                                      From: Supreme Court of the State
                                                                        New York, County of New York
                                       Defendant.                       (Index No. 162082/2018)



TO:        UNITED STATES DISTRICT COURT JUDGE
           FOR THE SOUTHERN DISTRICT OF NEW YORK

                    Defendant Salil Manilal (“Defendant”), by and through his counsel, hereby

removes (the “Notice of Removal”) the above-captioned proceeding styled, ICICI Bank UK PLC

Antwerp Branch v. Salil Manilal (Index No. 162082/2018) (the “Civil Action”) from the Supreme

Court of the State of New York, County of New York, to the United States District Court for the

Southern District of New York pursuant to 28 U.S.C. §§ 1334(b) and 1452, and Rule 9027 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and in support thereof

respectfully represents as follows:

                              FACTUAL & PROCEDURAL BACKGROUND

                    1.        On December 21, 2018, ICICI Bank UK PLC Antwerp Branch (“Plaintiff”)

commenced the Civil Action in the Supreme Court of the State of New York, County of New York

(the “State Court”) by filing a Summons and Notice of Motion for Summary Judgment In Lieu of

Complaint (and the exhibits annexed thereto) seeking recognition and enforcement of a foreign

judgment pursuant to CPLR 3213 and 5303. See Exhibits 1- 6.1




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    Copies of all State Court pleadings and process are annexed to Exhibit B hereto as Exhibits 1-137.



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               2.      Defendant opposed the motion and cross-moved to dismiss the Civil Action

on several grounds, including for lack of personal jurisdiction based on improper service of process

or, alternatively, on the ground that the English translation of the Belgian judgment attached to

Plaintiff’s motion papers did not satisfy CPLR 2101(b) because it was not accompanied by a

translator’s affidavit setting forth the translator's qualifications and the accuracy of the English

version. See Exhibits 24-26, 36-39, 83-87 & 94-100.

               3.      On May 27, 2020, the State Court issued a Decision and Order of the Court

(W.F. Perry, J.) granting Plaintiff’s motion for summary judgment. See Exhibit 132.

               4.      On June 11, 2020, Defendant filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy

Court”). The case is pending before the Honorable Shelley C. Chapman, and bears case number

20–11393 (SCC) (the “Bankruptcy Case”). A copy of the Notice of Chapter 11 Bankruptcy Case

[Doc. No. 10] evidencing the filing of the petition and the entry of an order for relief is annexed

hereto as Exhibit B.

                                        JURISDICTION

               5.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §

1334(b), which provides that United States District Courts shall have jurisdiction over all civil

proceedings, “arising under” or “related” to cases under the Bankruptcy Code. See 28 U.S.C. §

1334(b).

               6.      The Civil Action is “related to” the Bankruptcy Case because: (i) Plaintiff

seeks to enforce a judgment against Defendant; (ii) Defendant may seek indemnification or

contribution against his co-defendant; and (iii) his co-defendant may seek contribution or

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indemnification against Defendant, all of which, "could conceivably have" an effect on

Defendant’s bankruptcy estate. See In re Cuyahoga Equip. Corp., 980 F.2d 110, 114 (2d Cir. 1992)

("The test ... is whether [the litigation's] outcome might have any conceivable effect on the

bankrupt estate").

               7.      Courts have held that an action is "related to" a bankruptcy proceeding even

when the claims are solely between third parties. See Celotex Corp. v. Edwards, 514 U.S. 300

(1995) (resolving a circuit split by holding that a dispute between parties other than the debtor may

be "related to" bankruptcy although the debtor has no interest in the property over which the parties

are in dispute); In re Worldcom, Inc. Sees. Litig., 293 B.R. 308, 321 (S.D.N.Y. 2003) ("Because

the effect of contribution claims on the bankruptcy estate is at the very least conceivable, the ...

action is related to the bankruptcy and subject to the jurisdiction of this Court"); see also In re

Masterwear Corp., 241 B.R. 511, 516-17 (Bankr. S.D.N.Y. 1999) (holding that "related to"

jurisdiction existed where defendants "may ultimately be entitled to recover some or all of their

legal fees and expenses from [third-parties]”).

                               PROCEDURAL COMPLIANCE

               8.      Pursuant to 28 U.S.C. § 1446(d) and Bankruptcy Rule 9027, this Notice of

Removal is (i) timely filed with the clerk for the district and division within which the Civil Action

is pending; (ii) signed pursuant to Bankruptcy Rule 9011; (iii) accompanied by a copy of all

process and pleadings in the Civil Action filed to date in the State Court; (iv) contemporaneously

filed with the clerk of the Supreme Court of the State of New York, County of New York; and (v)

properly served upon Plaintiff’s counsel.




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                      REFERRAL TO THE BANKRUPTCY COURT

              9.      Subsequent to this removal, Defendant respectfully submits that the Civil

Action should be referred to the United States Bankruptcy Court for the Southern District of New

York.

                                *              *              *

              WHEREFORE, Defendant hereby removes the Civil Action from the Supreme

Court of the State of New York, County of New York to the United States District Court for the

Southern District of New York, and respectfully requests that it be referred to the United States

Bankruptcy Court for the Southern District of New York and such other and further relief as this

Court deems just and proper.

Dated: New York, New York
       June 23, 2020


                                                   ROSEN & ASSOCIATES, P.C.
                                                   Counsel to Salil Manilal

                                                   By: /s/ Sanford P. Rosen
                                                           Sanford P. Rosen
                                                           Paris Gyparakis
                                                   747 Third Avenue
                                                   New York, NY 10017-2803
                                                   (212) 223-1100




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                                  INDEX OF EXHIBITS


Exhibit A:   State Court Document List

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Exhibit C:   Notice of Chapter 11 Bankruptcy Case

Exhibit D:   Bankruptcy Case Docket Report




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Case Caption:   ICICI Bank UK PLC Antwerp Branch v. Salil Manilal
Judge Name:     Franc Perry
Doc#     Document Type/Information                      Status      Date Received    Filed By
1        SUMMONS AND 3213 MOTION W/ RJI - *Corrected*   Processed   12/24/2018       Finkel, A.

2        RJI -RE: NOTICE OF MOTION                      Processed   12/21/2018       Finkel, A.

3        NOTICE OF MOTION FOR SUMMARY JUDGMENT IN Processed         12/27/2018       Finkel, A.
         LIEU OF COMPLAINT

4        AFFIDAVIT OR AFFIRMATION IN SUPPORT            Processed   12/27/2018       Finkel, A.

5        EXHIBIT(S)                                     Processed   12/27/2018       Finkel, A.
         Affidavit of Foreign Counsel
6        MEMORANDUM OF LAW IN SUPPORT                   Processed   12/27/2018       Finkel, A.

7        EXPARTE ORDER (PROPOSED)                       Processed   01/16/2019       Finkel, A.

8        AFFIDAVIT OR AFFIRMATION IN SUPPORT            Processed   01/16/2019       Finkel, A.

9        EXHIBIT(S)                                     Processed   01/16/2019       Finkel, A.
         Affidavit of Foreign Counsel
10       EXHIBIT(S)                                     Processed   01/16/2019       Finkel, A.
         ACRIS Documents
11       MEMORANDUM OF LAW IN SUPPORT                   Processed   01/16/2019       Finkel, A.

12       NOTICE OF MOTION (AMENDED)                     Processed   02/07/2019       Finkel, A.

13       ORDER - OTHER                                  Processed   02/14/2019       Court User

14       ORDER - OTHER                                  Processed   02/27/2019       Court User
         Amended Order Ex-Parte Order of Attachment
15       ORDER TO SHOW CAUSE ( PROPOSED )               Processed   03/29/2019       Finkel, A.

16       AFFIDAVIT OR AFFIRMATION IN SUPPORT OF         Processed   03/29/2019       Finkel, A.
         MOTION

17       AFFIDAVIT OR AFFIRMATION IN SUPPORT OF         Processed   03/29/2019       Finkel, A.
         PROPOSED OSC/EXPARTE APP

18       EXHIBIT(S)                                     Processed   03/29/2019       Finkel, A.
         Commencement Docs
19       EXHIBIT(S)                                     Processed   03/29/2019       Finkel, A.
         Affidavit of Foreign Counsel
20       EXHIBIT(S)                                     Processed   03/29/2019       Finkel, A.
         Order of Attachment
21       EXHIBIT(S)                                     Processed   03/29/2019       Finkel, A.
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23      ORDER TO SHOW CAUSE                                        Processed   04/01/2019      Court User

24      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                  Processed   04/15/2019      Wagner, A.
        MOTION

25      EXHIBIT(S)                                                 Processed   04/15/2019      Wagner, A.
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26      AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   04/15/2019      Wagner, A.

27      AFFIDAVIT                                                  Processed   04/16/2019      Finkel, A.

28      AFFIDAVIT                                                  Processed   04/16/2019      Finkel, A.

29      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                  Processed   04/16/2019      Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

30      EXHIBIT(S)                                                 Processed   04/16/2019      Finkel, A.
        Affidavit of Foreign Counsel
31      EXHIBIT(S)                                                 Processed   04/16/2019      Finkel, A.
        Chain of Emails
32      NOTICE OF MOTION (AMENDED)                                 Processed   04/17/2019      Finkel, A.

33      AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   04/18/2019      Finkel, A.

34      AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   04/19/2019      Finkel, A.

35      DECISION + ORDER ON MOTION                                 Processed   04/24/2019      Court User

36      NOTICE OF ENTRY                                            Processed   05/23/2019      Finkel, A.

37      NOTICE OF CROSS-MOTION                                     Processed   05/24/2019      Wagner, A.

38      MEMORANDUM IN OPPOSITION TO MOTION AND IN Processed                    05/24/2019      Wagner, A.
        SUPPORT OF CROSS-MOTION

39      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                  Processed   05/24/2019      Wagner, A.
        MOTION AND IN SUPPORT OF CROSS-MOTION

40      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                  Processed   05/28/2019      Finkel, A.
        CROSS-MOTION
        Please disregard this filing. It was filed in duplicate.
        Please refer to documents # 45 - # 52.
41      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Please disregard this filing. It was filed in duplicate.
        Please refer to documents # 45 - # 52.
42      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Please disregard this filing. It was filed in duplicate.
        Please refer to documents # 45 - # 52.
43      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Please disregard this filing. It was filed in duplicate.
        Please refer to documents # 45 - # 52.
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Doc#    Document Type/Information                                  Status      Date Received   Filed By
44      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Please disregard this filing. It was filed in duplicate.
        Please refer to documents # 45 - # 52.
45      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO                  Processed   05/28/2019      Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

46      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Affidavit of Foreign Counsel
47      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        English Translation of Foreign Judgment
48      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Transcript
49      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Affidavit of Service
50      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Affidavit of Service
51      EXHIBIT(S)                                                 Processed   05/28/2019      Finkel, A.
        Chain of E-mails
52      MEMORANDUM OF LAW IN OPPOSITION TO                         Processed   05/28/2019      Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

53      STIPULATION - BRIEFING SCHEDULE                            Processed   05/31/2019      Ness, D.

54      NOTICE OF MOTION                                           Processed   06/25/2019      Finkel, A.

55      AFFIDAVIT OR AFFIRMATION IN SUPPORT                        Processed   06/25/2019      Finkel, A.

56      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Orders of Attachment
57      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Confirmation Order
58      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Receiver Resume
59      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Harris Brown Stevens Description
60      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Proposed Order
61      MEMORANDUM OF LAW IN SUPPORT                               Processed   06/25/2019      Finkel, A.

62      NOTICE OF MOTION (AMENDED)                                 Processed   06/25/2019      Finkel, A.

63      NOTICE OF MOTION                                           Processed   06/25/2019      Finkel, A.

64      AFFIDAVIT OR AFFIRMATION IN SUPPORT                        Processed   06/25/2019      Finkel, A.

65      EXHIBIT(S)                                                 Processed   06/25/2019      Finkel, A.
        Affidavit of Translator


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66      EXHIBIT(S)                                         Processed    06/25/2019      Finkel, A.
        Emails
67      EXHIBIT(S)                                         Processed    06/25/2019      Finkel, A.
        Emails
68      EXHIBIT(S)                                         Processed    06/25/2019      Finkel, A.
        Stipulation
69      EXHIBIT(S)                                         Processed    06/25/2019      Finkel, A.
        Letter From Foreign Counsel
70      MEMORANDUM OF LAW IN SUPPORT                       Processed    06/25/2019      Finkel, A.

71      STIPULATION - BRIEFING SCHEDULE                    Processed    07/11/2019      Ness, D.

72      STIPULATION - BRIEFING SCHEDULE                    Processed    07/11/2019      Ness, D.

73      MEMORANDUM OF LAW IN REPLY                         Processed    07/11/2019      Ness, D.

74      AFFIDAVIT OR AFFIRMATION IN REPLY                  Processed    07/11/2019      Ness, D.

75      NOTICE OF MOTION                                   Processed    07/30/2019      Finkel, A.

76      MEMORANDUM OF LAW IN SUPPORT                       Processed    07/30/2019      Finkel, A.

77      AFFIDAVIT OR AFFIRMATION IN SUPPORT                Processed    07/30/2019      Finkel, A.

78      EXHIBIT(S)                                         Processed    07/30/2019      Finkel, A.
        Affidavit of Service
79      EXHIBIT(S)                                         Processed    07/30/2019      Finkel, A.
        Affidavit of Service
80      AFFIDAVIT OR AFFIRMATION IN SUPPORT                Processed    07/30/2019      Finkel, A.

81      EXHIBIT(S)                                         Processed    07/30/2019      Finkel, A.
        emails
82      EXHIBIT(S)                                         Processed    07/30/2019      Finkel, A.
        Stipulation
83      ORDER TO SHOW CAUSE ( PROPOSED )                   Processed    07/31/2019      Ness, D.

84      AFFIDAVIT OR AFFIRMATION IN SUPPORT OF              Processed   07/31/2019      Ness, D.
        PROPOSED OSC/EXPARTE APP
        Affirmation in Support
85      AFFIDAVIT OR AFFIRMATION IN SUPPORT OF              Processed   07/31/2019      Ness, D.
        PROPOSED OSC/EXPARTE APP
        Emergency Affirmation and Email to Opposing Counsel
86      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO           Processed   08/01/2019      Ness, D.
        MOTION

87      MEMORANDUM OF LAW IN OPPOSITION                    Processed    08/01/2019      Ness, D.

88      ORDER TO SHOW CAUSE - DECLINED/WITHDRAWN Processed              08/02/2019      Court User



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89      BRIEFING SCHEDULE                              Processed   08/15/2019        Ness, D.

90      BRIEFING SCHEDULE                              Processed   08/15/2019        Ness, D.

91      BRIEFING SCHEDULE                              Processed   08/15/2019        Ness, D.

92      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   08/19/2019        Ness, D.
        MOTION

93      MEMORANDUM OF LAW IN OPPOSITION                Processed   08/19/2019        Ness, D.

94      NOTICE OF CROSS-MOTION                         Processed   08/29/2019        Ness, D.

95      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   08/29/2019        Ness, D.
        MOTION AND IN SUPPORT OF CROSS-MOTION

96      AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   08/29/2019        Ness, D.
        MOTION AND IN SUPPORT OF CROSS-MOTION

97      EXHIBIT(S)                                Processed        08/29/2019        Ness, D.
        Manilal Family Residence Trust Agreement
98      EXHIBIT(S)                                Processed        08/29/2019        Ness, D.
        Nina Manilal Residential Lease
99      MEMORANDUM IN OPPOSITION TO MOTION AND IN Processed        08/29/2019        Ness, D.
        SUPPORT OF CROSS-MOTION

100     AFFIRMATION/AFFIDAVIT OF SERVICE               Processed   08/29/2019        Ness, D.

101     STIPULATION - OTHER - ( REQUEST TO SO ORDER ) Processed    09/05/2019        Ness, D.
        Stipulation - Briefing Schedule
102     STIPULATION - OTHER - ( REQUEST TO SO ORDER ) Processed    09/05/2019        Ness, D.

103     STIPULATION - OTHER - ( REQUEST TO SO ORDER ) Processed    09/05/2019        Ness, D.

104     STIPULATION - OTHER - ( REQUEST TO SO ORDER ) Processed    09/05/2019        Ness, D.

105     STIPULATION - SO ORDERED                       Processed   09/09/2019        Court User

106     STIPULATION - SO ORDERED                       Processed   09/09/2019        Court User

107     STIPULATION - SO ORDERED                       Processed   09/09/2019        Court User

108     AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   10/08/2019        Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

109     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Transcript
110     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Trust Agreement

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111     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Emails
112     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Stipulation
113     AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   10/08/2019        Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

114     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Resume
115     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Analysis
116     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Lease
117     AFFIDAVIT OR AFFIRMATION IN OPPOSITION TO      Processed   10/08/2019        Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

118     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Demand Letter with Proof of Mailing
119     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Translated Belgian Brief
120     EXHIBIT(S)                                     Processed   10/08/2019        Finkel, A.
        Certifications of Translator
121     MEMORANDUM OF LAW IN OPPOSITION TO             Processed   10/08/2019        Finkel, A.
        CROSS-MOTION AND IN FURTHER SUPPORT OF
        MOTION

122     MEMORANDUM OF LAW IN REPLY                     Processed   10/16/2019        Ness, D.

123     AFFIDAVIT OR AFFIRMATION IN REPLY              Processed   10/16/2019        Ness, D.

124     MEMORANDUM OF LAW IN REPLY                     Processed   10/16/2019        Finkel, A.

125     AFFIDAVIT OR AFFIRMATION IN REPLY              Processed   10/16/2019        Finkel, A.

126     EXHIBIT(S)                                     Processed   10/16/2019        Finkel, A.
        Court Calendar
127     MEMORANDUM OF LAW IN REPLY                     Processed   10/16/2019        Finkel, A.

128     URGENT - COURT APPEARANCE UPDATE               Processed   03/20/2020        Court User

129     DECISION + ORDER ON MOTION                     Processed   05/27/2020        Court User

130     DECISION + ORDER ON MOTION                     Processed   05/27/2020        Court User

131     DECISION + ORDER ON MOTION                     Processed   05/27/2020        Court User

132     DECISION + ORDER ON MOTION                     Processed   05/27/2020        Court User


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Doc#    Document Type/Information                      Status      Date Received     Filed By
133     NOTICE OF ENTRY                                Processed   06/03/2020        Finkel, A.

134     NOTICE OF ENTRY                                Processed   06/03/2020        Finkel, A.

135     NOTICE OF ENTRY                                Processed   06/03/2020        Finkel, A.

136     NOTICE OF ENTRY                                Processed   06/03/2020        Finkel, A.

137     NOTICE OF BANKRUPTCY (POST RJI)                Processed   06/11/2020        Ness, D.




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                                    Exhibit B

                  All Pleadings and Process from the State Court

                               (See Exhibits 1-137)




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                                   Exhibit C

                      Notice of Chapter 11 Bankruptcy Case




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 Information to identify the case:

 Debtor 1:
                       Salil Prasan Manilal                                             Social Security number or ITIN:    xxx−xx−7839
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        Southern District of New York                   Date case filed for chapter:          11      6/11/20

            20−11393−scc
 Case number:

Official Form 309E1 (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20



For the debtor(s) listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office or the office of the U.S. Trustee cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Salil Prasan Manilal

 2. All other names used in the aka Salil P. Manilal
    last 8 years

 3. Address                                       240 East 47th Street, Apt. 14D
                                                  New York, NY 10017

 4. Debtor's attorney                             Sanford Philip Rosen                                    Contact phone (212) 223−1100
       Name and address                           Rosen & Associates, P.C.
                                                  747 Third Avenue                                        Email srosen@rosenpc.com
                                                  New York, NY 10017−2803

 5. Bankruptcy clerk's office                                                                             Office Hours: Monday − Friday 8:30 AM − 5:00
       Documents in this case may be filed                                                                PM
                                                  One Bowling Green
       at this address.                           New York, NY 10004−1408
       You may inspect all records filed in                                                               Contact phone 212−668−2870
       this case at this office or online at
       www.pacer.gov.                             Clerk of the Bankruptcy Court:
                                                  Vito Genna
                                                                                                          Date: 6/11/20

                                                                                                           For more information, see page 2 >




Official Form 309E1 (For Individuals or Joint Debtors)                   Notice of Chapter 11 Bankruptcy Case                                         page 1




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                                               Notice
                                                  of 26 Pg 2 of 3
Debtor Salil Prasan Manilal                                                                                                   Case number 20−11393−scc

 6. Meeting of creditors                    July 22, 2020 at 02:30 PM                                        Location:
     Debtors must attend the meeting to                                                                      Office of the United States Trustee,
     be questioned under oath. In a joint   The meeting may be continued or adjourned to a later             United States Bankruptcy Court,
     case, both spouses must attend.        date. If so, the date will be on the court docket. Debtor        SDNY, One Bowling Green, Room
     Creditors may attend, but are not      should bring this notice to the first meeting of creditors,
                                            together with any other documents requested by the U.S.          511, Fifth Floor, New York, NY
     required to do so.
                                            trustee.                                                         10004−1408


 7. Deadlines                               File by the deadline to object to discharge or                    First date set for hearing on confirmation of plan.
    The bankruptcy clerk's office must      to challenge whether certain debts are                            The court will send you a notice of that date
    receive these documents and any                                                                           later.
    required filing fee by the following    dischargeable:
    deadlines.
                                            You must file a complaint:                                        Filing deadline for dischargeability
                                            • if you assert that the debtor is not entitled to                complaints: __________
                                              receive a discharge of any debts under
                                              11 U.S.C. § 1141(d)(3) or
                                            • if you want to have a debt excepted from discharge
                                              under 11 U.S.C § 523(a)(2), (4), or (6).


                                            Deadline for filing proof of claim:                            Not yet set. If a deadline is set, the court will
                                                                                                           send you another notice.
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                            file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                            may file a proof of claim even if your claim is scheduled.
                                            You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                            of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.
                                            All Proofs of Claim must be filed electronically on the Court's website or mailed to the court at the address
                                            listed in section 5.


                                            Deadline to object to exemptions:                                 Filing Deadline:
                                            The law permits debtors to keep certain property as               30 days after the conclusion of the meeting of
                                            exempt. If you believe that the law does not authorize an         creditors
                                            exemption claimed, you may file an objection.

                                            If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

                                            Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                            court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                            and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                            hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                            is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                            business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                     should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                            bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.




Official Form 309E1 (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                               page 2




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                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 20-11393-scc
Salil Prasan Manilal                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User:                              Page 1 of 1                          Date Rcvd: Jun 11, 2020
                                      Form ID: 309E1                     Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 13, 2020.
db             +Salil Prasan Manilal,    240 East 47th Street, Apt. 14D,    New York, NY 10017-2135
aty            +Paris Gyparakis,   Rosen & Associates, P.C.,    747 Third Avenue,    New York, NY 10017-2850
smg             N.Y. State Unemployment Insurance Fund,    P.O. Box 551,    Albany, NY 12201-0551
smg             New York City Dept. Of Finance,    345 Adams Street, 3rd Floor,
                 Attn: Legal Affairs - Devora Cohn,    Brooklyn, NY 11201-3719
smg            +United States Attorney’s Office,    Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,    86 Chambers Street, Third Floor,    New York, NY 10007-1825
7723153        +ANDERSON KILL, P.C.,   1251 AVENUE OF THE AMERICAS,     NEW YORK, NY 10020-1182
7723154         FEDERALE OVERHEIDSDIENST FINANCIEN,    ITALIELEI 4/3,    ANTWERPEN, BELGIUM 200
7723155         ICICI BANK UK PLC ANTWERP BRANCH,    HOVENIERSSTRAAT 55,    ANTWERPEN, BELGIUM 2018
7723156         RAMESH GANDHI,   BELGIELEI 7,    ANTWERPEN, BELGIUM 2018
7723157        +SABHARWAL & FINKEL, LLC,    250 PARK AVENUE, 7TH FLOOR,    NEW YORK, NY 10177-0799

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: srosen@rosenpc.com Jun 11 2020 20:27:26      Sanford Philip Rosen,
                 Rosen & Associates, P.C.,   747 Third Avenue,    New York, NY 10017-2803
smg             EDI: IRS.COM Jun 12 2020 00:13:00      Internal Revenue Service,   PO Box 7346,
                 Philadelphia, PA 19101-7346
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jun 11 2020 20:28:37
                 New York State Tax Commission,    Bankruptcy/Special Procedures Section,   P.O. Box 5300,
                 Albany, NY 12205-0300
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Jun 11 2020 20:27:57      United States Trustee,
                 Office of the United States Trustee,    U.S. Federal Office Building,
                 201 Varick Street, Room 1006,    New York, NY 10014-7016
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 13, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 11, 2020 at the address(es) listed below:
              Paris Gyparakis    on behalf of Debtor Salil Prasan Manilal pgyparakis@rosenpc.com,
               gyparakispr81087@notify.bestcase.com
              Sanford Philip Rosen   on behalf of Debtor Salil Prasan Manilal srosen@rosenpc.com,
               RosenSR81087@notify.bestcase.com
              United States Trustee   USTPRegion02.NYECF@USDOJ.GOV
                                                                                            TOTAL: 3




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20-11393-scc  Doc 13 Filed 06/24/20
       Case 1:20-cv-04808-KPF        Entered
                               Document  1-5 06/24/20 13:04:30
                                             Filed 06/23/20     Main
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                                   Exhibit D

                         Bankruptcy Case Docket Report




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                Case 1:20-cv-04808-KPF   Document Entered
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                                            Pg  25 of 26
                                      U.S. Bankruptcy Court
                             Southern District of New York (Manhattan)
                                Bankruptcy Petition #: 20-11393-scc

                                                                             Date filed: 06/11/2020
Assigned to: Judge Shelley C. Chapman                                      341 meeting: 07/22/2020
Chapter 11
Voluntary
Asset


Debtor                                                            represented by Paris Gyparakis
Salil Prasan Manilal                                                             Rosen & Associates, P.C.
240 East 47th Street, Apt. 14D                                                   747 Third Avenue
New York, NY 10017                                                               New York, NY 10017
NEW YORK-NY                                                                      212-223-1100
SSN / ITIN: xxx-xx-7839                                                          Email: pgyparakis@rosenpc.com
aka Salil P. Manilal
                                                                                 Sanford Philip Rosen
                                                                                 Rosen & Associates, P.C.
                                                                                 747 Third Avenue
                                                                                 New York, NY 10017-2803
                                                                                 (212) 223-1100
                                                                                 Fax : (212) 223-1102
                                                                                 Email: srosen@rosenpc.com

U.S. Trustee
United States Trustee
Office of the United States Trustee
U.S. Federal Office Building
201 Varick Street, Room 1006
New York, NY 10014
(212) 510-0500


  Filing Date                    #                                       Docket Text

                              1          Chapter 11 Voluntary Petition for Individual. Order for Relief Entered. Filed
                              (7 pgs)    by Sanford Philip Rosen of Rosen & Associates, P.C. on behalf of Salil
                                         Prasan Manilal. (Rosen, Sanford) Modified on 6/11/2020 (Porter, Minnie).
 06/11/2020                              (Entered: 06/11/2020)

                                         Receipt of Voluntary Petition (Chapter 11)( 20-11393) [misc,824] (1717.00)
                                         Filing Fee. Receipt number AXXXXXXXX. Fee amount 1717.00. (Re: Doc # 1)
 06/11/2020                              (U.S. Treasury) (Entered: 06/11/2020)

                              2          Affidavit Pursuant to LR 1007-2 / Declaration of Salil Prasan Manilal
                              (10 pgs)   Pursuant to Local Rule 1007-2 Filed by Sanford Philip Rosen on behalf of
                                         Salil Prasan Manilal. (Rosen, Sanford) Modified on 6/11/2020 (Porter,
 06/11/2020                              Minnie). (Entered: 06/11/2020)

                              3          Certificate of Credit Counseling, Certificate Number[s]: 12459-NYS-CC-
                              (1 pg)     034542240 Filed by Paris Gyparakis on behalf of Salil Prasan Manilal.
                                         (Gyparakis, Paris) Modified on 6/11/2020 (Porter, Minnie). (Entered:
 06/11/2020                              06/11/2020)

 06/11/2020                              Judge Shelley C. Chapman added to the case. (Porter, Minnie). (Entered:
                                                                                                                         25
       20-11393-scc  Doc 13 Filed 06/24/20
              Case 1:20-cv-04808-KPF   DocumentEntered
                                                    1-5 06/24/20 13:04:30
                                                        Filed 06/23/20     Main
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                                          Pg
                                   06/11/2020)26 of 26

                                        Deficiencies Set: Chapter 11 Statement of Current Monthly Income Form
                                        122B Due 6/25/2020. Schedule A/B due 6/25/2020. Schedule C due
                                        6/25/2020. Schedule D due 6/25/2020. Schedule E/F due 6/25/2020.
                                        Schedule G due 6/25/2020. Schedule H due 6/25/2020. Schedule I due
                                        6/25/2020. Schedule J due 6/25/2020. Summary of Assets and Liabilities
                                        due 6/25/2020. Statement of Financial Affairs due 6/25/2020. Atty
                                        Disclosure State. due 6/25/2020. Declaration of Schedules due 6/25/2020.
                                        List of all creditors Due at Time of Filing. List of All Creditors Required on
                                        Case Docket in PDF Format Due at Time of Filing. Incomplete Filings due
06/11/2020                              by 6/25/2020, (Porter, Minnie). (Entered: 06/11/2020)

                      4
06/11/2020            (2 pgs; 2 docs)   Deficiency Notice (Porter, Minnie). (Entered: 06/11/2020)

                      5                 For Individual Chapter 11 Cases: List of Creditors Who Have 20 Largest
                      (2 pgs)           Unsecured Claims and Are Not Insiders (Official Form 104) Filed by Paris
                                        Gyparakis on behalf of Salil Prasan Manilal. (Gyparakis, Paris) Modified on
06/11/2020                              6/11/2020 (Porter, Minnie). (Entered: 06/11/2020)

                      6                 Matrix Filed by Paris Gyparakis on behalf of Salil Prasan Manilal.
                      (2 pgs)           (Gyparakis, Paris) Modified on 6/11/2020 (Porter, Minnie). (Entered:
06/11/2020                              06/11/2020)

                      7                 Notice of 341(a) Meeting of Creditors 341(a) meeting to be held on
                      (3 pgs; 2 docs)   7/22/2020 at 02:30 PM at Office of UST (One Bowling Green, Fifth Floor,
06/11/2020                              Room 511). (Richards, Beverly). (Entered: 06/11/2020)

                      8                 Notice of Proposed Order Scheduling Initial Case Conference filed by Paris
                      (2 pgs)           Gyparakis on behalf of Salil Prasan Manilal. (Gyparakis, Paris) (Entered:
06/11/2020                              06/11/2020)

                      9                 Order Scheduling Initial Case Conference signed on 6/12/2020; with hearing
                      (2 pgs)           to be held telephonically on 7/1/2020 at 11:00 a.m. (White, Greg) (Entered:
06/12/2020                              06/12/2020)

                      10                Certificate of Mailing Re: Notice of 341(a) Meeting of Creditors (related
                      (3 pgs)           document(s) (Related Doc # 7)) . Notice Date 06/13/2020. (Admin.)
06/13/2020                              (Entered: 06/14/2020)

                      11                Certificate of Mailing Re: Deficiency Notice (related document(s) (Related
06/13/2020            (2 pgs)           Doc # 4)) . Notice Date 06/13/2020. (Admin.) (Entered: 06/14/2020)

                      12                Certificate of Service (related document(s)9) Filed by Paris Gyparakis on
06/17/2020            (2 pgs)           behalf of Salil Prasan Manilal. (Gyparakis, Paris) (Entered: 06/17/2020)




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